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                         UNITED STATES DISTRICT COURT
   8                    CENTRAL DISTRICT OF CALIFORNIA
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  10    Brian Whitaker,
                                            Case: 2:19-CV-08210-JFW (PLAx)
  11              Plaintiff,
  12       v.                               Judgment
  13
        Ling-Su Chinn, LLC, a California
  14    Limited Liability Company; and
        Does 1-10,
  15
                  Defendants.
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   1                                   ORDER
   2        Following the court's ruling on December 21, 2020, granting
   3 Plaintiffs Motion for Summary Judgment, it is hereby ordered and adjudged
   4 that Plaintiff BRIAN WHITAKER shall have WDGMENT in his favor in
   5 the amount of $4,000 against Defendant LING-SU CHINN, LLC.
   6 Additionally, Defendant LING-SU CHINN, LLC is ordered to maintain an
   7 accessible sales counter at the Planet Blue store located at or about 409 N.
   8 Beverly Dr., Beverly Hills, California, in compliance with the Americans
   9 with Disabilities Act Accessibility Guidelines.
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  11   ated: December 29, 2020
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